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 4   (888) 819-8230 Facsimile
 5
     Attorneys for Plaintiff
 6   KENDALL SCALLY

 7

 8                               UNITED STATES DISTRICT COURT
 9                             SOUTHERN DISTRICT OF CALIFORNIA

10
     KENDALL SCALLY, individually and on           Case No.: 3:16-cv-01992-WQH-WVG
11   behalf of others similarly situated,
                                                   JOINT MOTION TO DISMISS INDIVIDUAL
12                    Plaintiff,                   CLAIMS WITH PREJUDICE, PUTATIVE
                                                   CLASS CLAIMS WITHOUT PREJUDICE
13
              vs.
14

15   DITECH FINANCIAL LLC.
16                    Defendant.
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19
            PLEASE TAKE NOTICE, pursuant to the terms of settlement between the Parties, Plaintiff
20
     KENDALL SCALLY (“Plaintiff”) and Defendant DITECH FINANCIAL LLC (“Defendant”) jointly
21
     move to dismiss this matter.
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                                               1
                                    JOINT MOTION TO DISMISS
Case 3:16-cv-01992-WQH-WVG Document 48 Filed 08/09/18 PageID.778 Page 2 of 3




 1          The individual claims filed are to be dismissed WITH prejudice, and the putative class claims

 2   are to be dismissed WITHOUT prejudice. Each Party is to bear its own costs and fees.

 3

 4   Dated: 08-09-2018                           Respectfully submitted,
 5

 6                                               /s/ Jared M. Hartman
                                                 Jared M. Hartman, Esq.
 7                                               SEMNAR & HARTMAN, LLP
                                                 Attorneys for Plaintiff
 8

 9                                               /s/ Justin J. Kontul
                                                 Justin J. Kontul, Esq.
10                                               Reed Smith LLP
                                                 Attorneys for Defendant
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                                      JOINT MOTION TO DISMISS
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 1
                                            PROOF OF SERVICE
 2
     Scally v. Ditech Financial, LLC                        Case No.: 3:16-cv-01992-WQH-WVG
 3

 4
             I am employed in the County of Riverside, State of California. I am over the age of 18 and
 5   am not a party to the within action; my business address is 41707 Winchester Road, Suite 201,
 6   Temecula, CA 92590. On the date provided below, I served the foregoing document described below
     on the interested parties in this action by placing same in a sealed envelope.
 7   JOINT MOTION TO DISMISS was served on:

 8    Mathew M. Wrenshall
      Perry A. Napolitano
 9
      REED SMITH LLP
10    355 South Grand Avenue, Suite 2900
      Los Angeles, CA 90071
11    Attorneys for Defendant

12          (BY MAIL) – I caused such envelope(s) with postage thereon fully prepaid to be placed in
            the United States mail in Temecula, California.
13
            I am “readily familiar” with the firm’s practice of collection and processing correspondence
14          for mailing. Under that practice, it would be deposited with the U.S. Postal Service on the
            same day with postage thereon fully prepaid at Temecula, California, in the ordinary course of
15          business. I am fully aware that on motion of the party served, service is presumed invalid if
            the postal cancellation date or postage meter date is more than one day after the date of
16          deposit for mailing an affidavit.

17          (BY FACSIMILE) – I caused the above described document(s) to be transmitted to the
            offices of the interested parties at the facsimile number(s) indicated above and the activity
            report(s) generated by facsimile number (888) 819-8230 indicating on all pages that they were
18          transmitted.
19          (BY PERSONAL SERVICE) – I caused such envelope(s) to be delivered by hand to the
            office(s) of the addressee(s).
20
            (STATE) – I declare under penalty of perjury under the laws of the State of California that
21          the above is true and correct.
22          (FEDERAL) – I declare that I am employed in the office of a member of the bar of this court
            at whose direction the service was made. Via Electronic Service: The above-described
23          documents will be delivered electronically through the court’s ECF/PACER electronic filing
            system, as stipulated by all parties to constitute personal service.
24

25   Dated: 8-9-18                                      /s/ Jared M. Hartman
26                                                      Jared M. Hartman, Esq.

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                                                  3
                                       JOINT MOTION TO DISMISS
